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                     UNITED STATES DISTRICT COURT
        FOR THE Northern District of Illinois − CM/ECF NextGen 1.8 (rev. 1.8.3)
                                  Eastern Division

UNITED STATES OF AMERICA
                                          Plaintiff,
v.                                                         Case No.: 1:22−cr−00643
                                                           Honorable Manish S. Shah
Robert L. Murray Jr.
                                          Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, March 4, 2025:


        MINUTE entry before the Honorable Manish S. Shah as to Robert L. Murray Jr.:
Motion hearing held. Mr. Murray appeared by phone. All parties appeared in−person. For
the reasons stated on the record, The government's motion to revoke defendants' bond [51]
is denied. The Court modified the conditions of pretrial release to include a condition of
home incarceration with location monitoring using the technology that Pretrial Services
deems appropriate. Pretrial Services is given three days to implement the location
monitoring. The Pretrial Services officer will review the details of the conditions with Mr.
Murray. Sentencing remains set for 4/30/25 at 1:30 p.m. Mailed notice (mjc, )




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